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December 31, 2020

Via CM/ECF

Hon. Charles S. Haight Jr.
Richard C. Lee United States Courthouse
141 Church Street
New Haven, Connecticut 06510

Re:          SFFA opposition to intervention in Students for Fair Admissions, Inc. v.
             University of Texas (W.D. Tex.)

Dear Judge Haight,
        We write on behalf of our client, Defendant Yale University, to inform the Court of the
attached memorandum of law opposing intervention that Students for Fair Admissions, Inc. (SFFA)
filed on December 23, 2020 in Students for Fair Admissions, Inc. v. University of Texas at Austin,
No. 1:20-cv-00763 (W.D. Tex.), a case challenging the University of Texas’s admissions policy.
In its memorandum, SFFA opposed the proposed intervention of eight current students and three
organizations, including the Texas chapter of the NAACP. Much like its filings opposing
intervention in litigation involving Harvard University and the University of North Carolina,
SFFA’s latest filing reinforces that the best course in cases like these is to deny intervention and
permit putative intervenors to participate as amici curiae instead.
       At least three aspects of SFFA’s recent filing in the Texas litigation are relevant to SFFA’s
intervention motion in this case.
        First, SFFA argued in its December 23 filing that there are two strong presumptions that
support the conclusion that the University of Texas, a government entity, will protect the putative
intervenors’ interests. SFFA expressly acknowledged that the government “is presumed to
represent the interests of all its citizens.” Mem. at 5 (citation and quotation omitted). And it argued
that the putative intervenors and the University of Texas share the “same ultimate objective”—
both seek “to preserve UT’s race-conscious admissions policy”—and that the University is
therefore presumed to adequately represent the putative intervenors’ interests. Id. (citation and
quotation omitted). Indeed, SFFA correctly argued that “the incongruity of interests” must be
“pronounced” to warrant intervention. Id. at 7 (citation and quotation omitted).
       Second, in opposing both mandatory and permissive intervention, SFFA argued that
intervention in the Texas litigation would unduly delay the proceedings. SFFA noted that
intervention should be denied because the “parties already negotiated over scheduling,” id. at 8,
and the proposed intervenors “seek far-reaching fact and expert discovery,” id. at 10. And it
explained that “the addition of [multiple] parties propounding discovery, presenting expert


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testimony, cross-examining witnesses, and participating in all other aspects of the adversary
process would inevitably slow and unduly complicate the progress of this litigation.” Id. at 9
(quoting SFFA v. President & Fellows of Harvard Coll., 308 F.R.D. 39, 52 (D. Mass. 2015)).
        Third, SFFA asserted that the court in the Texas litigation should grant the proposed
intervenors amici curiae status rather than granting them full-blown party status. See Mem. at 10-
11. SFFA explained that where the putative intervenors seek to “share with the Court their views
and perspectives” on the legal question of whether a university’s “policy of considering race as a
factor in undergraduate admissions decisions” is lawful, this is “precisely the kind of presentation
that can and should be shared through participation as amici curiae.” Id. at 10. And it noted that
the “fairest and most efficient path forward is to allow Movants to participate as amici curiae.” Id.
        SFFA’s arguments in the Texas litigation reinforce that the Court should deny SFFA’s
intervention motion here and permit it to participate as amicus curiae instead. By SFFA’s own
admission, this Court should presume that the Department of Justice will adequately represent
SFFA’s interests: Because the government “is presumed to represent the interests of all its citizens,”
and because the Department of Justice and SFFA share the “same ultimate objective,” SFFA’s
own arguments demonstrate that the Department of Justice adequately represents SFFA’s interests.
Id. at 5. And because SFFA “seek[s] far-reaching fact and expert discovery,” SFFA itself
recognizes that its participation as a full-blown party “would inevitably slow and unduly
complicate the progress of this litigation.” Id. at 9-10. Thus, as SFFA itself has argued, the “fairest
and most efficient path forward is to allow” SFFA to “participate as amici curiae.” Id. at 10.
        In a footnote in its Texas filing, SFFA offered two reasons why its position on intervention
in the Texas litigation “does not conflict” with its motion to intervene in the United States’ lawsuit
against Yale. See id. at 8 n.3. Neither reason is persuasive. First, SFFA asserted that its members
have “a protectable interest in” the Yale litigation, whereas the intervenors in the Texas lawsuit do
not. Id. But that is a non sequitur. No matter whether SFFA has an “interest” in this litigation,
this Court should deny SFFA’s motion to intervene for several other reasons, including that the
United States will adequately protect SFFA’s interests and that SFFA’s presence will unduly delay
this lawsuit. See Mem. of Law in Opp’n to Mot. to Intervene, ECF 23, at 3-18. Second, SFFA
argued that granting intervention in the Yale case would prevent “a multiplicity of suits.” Mem.
at 8 n.3. But the Second Circuit has rejected the notion that intervention is warranted any time a
proposed-intervenor might bring a parallel suit. See Tr. of Oral Arg., ECF 44, at 43; see also
United States v. City of New York, 198 F.3d 360, 366 (2d Cir. 1999). Indeed, it is almost always
true that a proposed plaintiff-intervenor could initiate its own lawsuit. By SFFA’s logic, then,
courts would need to grant intervention in nearly every case. That is not the law, and the Court
should not grant intervention on that basis here.
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                                               Respectfully submitted,
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cc: Counsel of Record (via CM/ECF)
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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION


STUDENTS FOR FAIR ADMISSIONS,       )
INC.,                               )
                                    )
                  Plaintiff,        )
                                    )
v.                                  )     Case No. 1:20-cv-763-RP
                                    )
UNIVERSITY OF TEXAS AT AUSTIN,      )
et al.                              )
                                    )
                  Defendants.       )
____________________________________)

      SFFA’S OPPOSITION TO PROPOSED DEFENDANT-INTERVENORS’
                       MOTION TO INTERVENE


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 Dated: December 23, 2020                  Counsel for Plaintiff Students for Fair Admissions, Inc.
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          The use of racial preferences at the University of Texas at Austin (“UT”) and other elite

universities is an issue of national importance. SFFA thus has no desire to prevent Movants—eight

current UT seniors, two UT student organizations, and the Texas NAACP—from weighing in on the

relevant issues in this case. This Court should, in its discretion, allow Movants to participate as amici

curiae.

          But the Court should not grant intervention as of right or permissive intervention. Movants

have no legally protectable interest in UT’s continued use of racial preferences and therefore would

not suffer any cognizable injury if SFFA prevailed in this case. UT also will vigorously defend its

admissions policies and therefore will adequately represents any interests Movants may have. Finally,

allowing eleven new defendants to intervene in this case will inevitably impair the parties’ ability to

litigate this case efficiently.

          Courts in this district have twice denied nearly identical motions to intervene. See Order, Fisher

v. Univ. of Tex. at Austin, No. 1:08-CV-263 (W.D. Tex. Aug. 11, 2008) (Doc. 83) (denying motion to

intervene in challenge to UT’s undergraduate admissions policy); Hopwood v. Texas, No. A-92-CA-563-

SS, 1994 WL 242362 (W.D. Tex. Jan. 20, 1994) (denying motion to intervene in challenge to UT

School of Law’s admissions policy); see also Hopwood v. Texas, 21 F.3d 603, 604-06 (5th Cir. 1994)

(same). The Court should do the same here.

I.        Movants are not entitled to intervention as of right.

          To intervene as of right, an applicant must meet four requirements: “(1) the application for

intervention must be timely; (2) the applicant must have an interest relating to the property or

transaction which is the subject of the action; (3) the applicant must be so situated that the disposition

of the action may, as a practical matter, impair or impede his ability to protect that interest; [and] (4)

the applicant’s interest must be inadequately represented by the existing parties to the suit.” Haspel &

Davis Milling & Planting Co. Ltd. v. Bd. of Levee Comm’rs of the Orleans Levee Dist. & La., 493 F.3d 570,



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578 (5th Cir. 2007) (citation omitted). “Failure to satisfy any one requirement precludes intervention

of right.” Id. Movants fail all four requirements.

        A.      Movants do not have a “direct, substantial, legally protectable interest”
                warranting intervention as of right.

        Rule 24(a)(2)’s requirement of an “interest” requires a “direct, substantial, and legally

protectable” interest and “must be one which the substantive law recognizes as belonging to or being

owned by the applicant.” Saldano v. Roach, 363 F.3d 545, 551 (5th Cir. 2004) (cleaned up). “Not any

interest . . . is sufficient.” Id. A proposed intervenor lacks this interest when it has only a “generalized

preference that the case come out a certain way.” Texas v. United States, 805 F.3d 653, 657 (5th Cir.

2015) (citing cases).

        Movants argue that they are entitled to intervention as of right because they have an interest

in “preserving UT’s race-conscious admissions policy.” Mem. 6. In particular, Movants assert interests

in the “educational benefits that flow from a diverse student body,” the “educational and advancement

opportunities” from being admitted or denied on the basis of race, and the ability for applicants to

discuss their race in applications for admission. Movants’ Br. 6-9. These generalized interests are

insufficient for at least two reasons.

        First, Movants’ asserted interests are not recognized by “substantive law . . . as belonging to or

being owned by the applicant.” Saldano, 363 F.3d at 551. The Supreme Court has made clear that there

is no protectable interest—let alone a substantial protectable interest—in the continued use of racial

preferences at UT or anywhere else. See Schuette v. BAMN, 572 U.S. 291 (2014). The Schuette plaintiffs,

who included “prospective applicants to Michigan public universities,” claimed that a ballot initiative

banning the use of racial preferences in admissions violated their legal rights, but the Court disagreed.

Id. at 298, 300, 310, 314. While use of racial preferences in admissions is presumptively

unconstitutional and thus subject to strict scrutiny, a university’s decision to discontinue such racial

preferences is never illegal. See id. at 298-310. As the Court explained, a university’s decision to shift


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from a race-based admissions system to a race-neutral admissions system does not cause any potential

applicant “specific injury.” Id. at 310.

         Schuette thus is fatal to Movants’ assertion of any legal interest. By reaffirming that racial

preferences are presumptively unconstitutional and holding that a university’s decision to discontinue

use of racial preferences is never illegal, Schuette makes plain that Movants would lack any legal interest

even if UT voluntarily decided to discontinue racial preferences. Id. at 298-310; see SFFA v. President

& Fellows of Harvard Coll., 308 F.R.D. 39, 47 (D. Mass.), aff’d, 807 F.3d 472 (1st Cir. 2015) (recognizing

that Harvard students and applicants have “no constitutional right to have their race considered by

Harvard”). Whether UT’s challenged conduct is ended voluntarily or by court order, the end result

would be an admissions system that would in no way disparage the rights of any applicant for

undergraduate admission. See Harvard, 308 F.R.D. at 48 (“Plaintiff’s interest in preventing Harvard

from considering race in its admissions decisions is qualitatively different from the proposed-

intervenors’ interest in supporting Harvard’s admissions policies. The former gives rise to a

constitutional claim, while the latter does not.”).

         Second, as a matter of law, Movants have no direct interest in the “educational benefits that flow

from a diverse student body,” the “educational and advancement opportunities” from being admitted

or denied on the basis of race, or in the ability to discuss race in their applications for admission.

Movants’ Br. 6-9. Movants seek “to protect their interests in [the university’s] right to consider race in

admissions.” Harvard, 308 F.R.D. at 47 (citation omitted; emphasis added). These interests are

“indirect, as [they are] derivative of [UT’s] right to consider race in its admissions process.” Id. at

47-48.

         This lack of a direct interest is particularly true for the eight UT seniors and two UT student

organizations because none of them are applicants or have applicants as members. These students

already have been admitted to, and enrolled in, UT. “Therefore, they have no remaining interest in



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[the university]’s continued consideration of race and ethnicity with respect to their own applications.”

Id. at 49. “Rather, their purported interest is in continuing to enjoy the academic and personal benefits

that they believe arise out of [UT]’s racially diverse student body, and their desire to see an increase in

the number and diversity of underrepresented minority groups admitted.” Id. These interests are far

too generalized for purposes of intervention. See id.

        Brumfield and Black Fire Fighters are readily distinguishable. Those cases involved attempts to

divest concrete benefits from the intervenors. In Black Fire Fighters, the intervenors were a group of

firefighters, and the city of Dallas had “entered into a consent decree . . . agreeing to give a specified

number of promotions to black officers who would not otherwise be chosen because of their scores

on an exam.” Brumfield v. Dodd, 749 F.3d 339, 343 (5th Cir. 2014) (citing Black Fire Fighters Ass’n of

Dallas v. City of Dallas, 19 F.3d 992, 994 (5th Cir. 1994)). Similarly, in Brumfield, the intervenors were

low-income parents “whose children receive[d] school vouchers via Louisiana’s Scholarship

Program.” Brumfield, 749 F.3d at 340. Here, Movants seek only to vindicate their abstract interest in

UT’s use of race in admissions. That is insufficient under Rule 24(a).

        B.      Movants’ interests will not be impaired or impeded without intervention.

        Because Movants lack a significantly protectable interest in this action, they cannot show that

a denial of intervention threatens to impair their rights. Fed. R. Civ. P. 24(a)(2). Even if they had a

protectable interest, it would not be impaired without intervention. The eight current UT students are

seniors. Mem. 3-4. Because they will graduate before this case has even gone to trial, there is no chance

they will be denied the “educational benefits of diversity” without intervention. Similarly, the eight

UT students, the UT Organizations’ members, and the Texas NAACP members who are seniors

already have applied to UT; there thus is no chance that they will be “effectively prohibit[ed]” from

discussing their race in their applications. Mem. 9-11. Indeed, because trial will not even occur until




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September 2022, it will be years before any applicants are affected at all. These alleged impairments of

interests are too speculative to warrant intervention as of right for these intervenors.1

        C.      Movants cannot overcome the presumption that UT will adequately represent
                Movants’ interests.

        Movants also cannot demonstrate that they are inadequately represented by UT. “The burden

of establishing inadequate representation is on the applicant for intervention.” Haspel & Davis, 493

F.3d at 578. Importantly, Movants are required to overcome two presumptions of adequate

representation here. First, “in a suit involving a matter of sovereign interest, the State is presumed to

represent the interests of all of its citizens.” Wal-Mart Stores, Inc. v. Tex. Alcoholic Beverage Comm’n, 2015

WL 11613286, at *4 (W.D. Tex. Dec. 22, 2015). Second, “when the party seeking to intervene has the

same ultimate objective as a party to the suit, the existing party is presumed to adequately represent

the party seeking to intervene unless that party demonstrates adversity of interest, collusion, or

nonfeasance.” Haspel & Davis, 493 F.3d at 578-79 (citation omitted); see, e.g., Baker v. Wade, 743 F.2d

236, 240-41 (5th Cir. 1984). These presumptions apply here because UT is a public university and

Movants’ objective is the same as UT’s—to preserve UT’s “race-conscious admissions policy.”

Compare Movants’ Br. 2, with UT Answer 2-5.

        Movants cannot overcome these presumptions because Movants never claim that UT has

engaged in “collusion” or “nonfeasance” or has an “adversity of interest” to them. Haspel & Davis,

493 F.3d at 578-79. Instead, Movants argue that intervention is warranted because, while “UT must

balance racial and ethnic diversity against other goals and factors,” Movants “can advocate for the



1
  SFFA’s lawsuit also would not “reduce diversity on campus.” Mem. 9-10. SFFA contends that “there
are a host of race-neutral alternatives that if implemented can achieve student body diversity without
resorting to racial preferences.” Am. Compl. ¶212. And SFFA, of course, has not “disparag[ed] . . .
the reputation, honor, and integrity of Movants.” Mem. 10. To the contrary, SFFA’s criticisms are
reserved for UT, which is employing an admissions policy that discriminates on the basis of race. See
generally City of Richmond v. J.A. Croson Co., 488 U.S. 469, 493-94 (1989) (plurality).


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constitutionality of the race-conscious aspects of the Policy without competing considerations.”

Movants Br. 12.

        But the Fifth Circuit rejected these precise arguments in Hopwood. There, two UT student

organizations moved to intervene as defendants in a challenge to UT School of Law’s admissions

policies. The organizations made the same arguments that Movants do here. They argued:

        [UT] cannot adequately represent their interest because 1) the long history of
        discrimination against African-Americans by [UT] weighs against [UT’s] willingness to
        vigorously represent the interests of the African-American students; 2) [UT’s] interests
        are broader in that they must balance the interests of the African-American students
        against other students as well as balancing educational goals, fiscal responsibility,
        administrative concerns and public opinion; while the [organizations’] only interest is
        in preserving an admissions policy that remedies the past effects of discrimination and
        fosters an atmosphere that is receptive to African-American students, and 3) the
        [organizations] are in a better position to present evidence of recent discrimination.”

Hopwood, 21 F.3d at 605. The Fifth Circuit disagreed, holding that “the proposed intervenors have not

demonstrated that [UT] will not strongly defend its affirmative action program. Nor have the

proposed intervenors shown that they have a separate defense of the affirmative action plan that [UT]

has failed to assert.” Id. at 606; see also Hopwood, 1994 WL 242362, at *1 (no inadequate representation

because “as a practical matter, the prospective intervenors and [UT] have the same ultimate objective

in this lawsuit—the preservation of the admissions policy and procedure currently used by the law

school”). Hopwood controls the outcome here.

        The district court in the Fisher litigation reached a similar result. There, the proposed

intervenors—Black and Hispanic high-school students who intended to apply to UT, current UT

students, and UT student groups—moved to intervene as defendants in a challenge to UT’s racial

preferences in undergraduate admissions. See Fisher v. Univ. of Tex. at Austin, No. 1:08-cv-263 (W.D.

Tex. 2008) (Docs. 63, 72). The proposed-intervenors made the same arguments Movants make here—

that they had an interest in UT continuing its affirmative action policy, that they had a stronger interest

in defending UT’s policy than UT, and that UT would not adequately defend its policy because of its



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conflicting interests. See id. The District Court disagreed, denying intervention because “movants’

interests [are] adequately represented by the existing parties.” See Order, Fisher, No. 1:08-cv-263 (W.D.

Tex. Aug. 11, 2008) (Doc. 83).

        Movants’ suggestion that UT is not sufficiently motivated to defend the use of racial

preferences in admissions is untenable. See Movants’ Br. 12-13. UT has made clear that it will

vigorously defend its admissions system, just as it did in the Fisher litigation. See Answer 2-5. Nor is

there any chance that UT will avoid “develop[ing] defenses that draw attention to its history of

discrimination [and] ongoing problems with race relations.” Mem. 13; see, e.g., UT Brief at 4, Fisher,

No. 14-981, 2015 WL 6467640, at *4 (S. Ct. Oct. 26, 2015) (UT describing its history of racial

segregation and the “lingering perception” that UT is closed to minority students and accusing the

petitioner of “ignor[ing] this history”).

        Moreover, Movants fail to “demonstrate how these allegedly divergent interests would have

any impact on the state’s defense of its affirmative action policy.” Texas, 805 F.3d at 662 (citing

Hopwood, 21 F.3d at 605). The “general notion” that UT has “broader interests at some abstract level

is not enough.” Id. at 663 (cleaned up). Courts consistently reject attempts to intervene on this general

notion alone. See Veasey v. Perry, 577 F. App’x 261, 262-63 (5th Cir. 2014); Staley v. Harris Cty. Tex., 160

F. App’x 410, 413-14 (5th Cir. 2005); Terrebonne Par. Branch NAACP v. Jindal, 2016 WL 2743525, at

*5-7 (M.D. La. May 11, 2016); Wal-Mart Stores, 2015 WL 11613286, at *4-6 (W.D. Tex. Dec. 22, 2015);

G & H Dev., LLC v. Penwell, 2014 WL 12663199, at *3-5 (W.D. La. Sept. 4, 2014).

        In all Fifth Circuit cases permitting intervention, “the incongruity of interests [has been] far

more pronounced” than here. Veasey, 577 F. App’x at 262-63; see also Lamar v. Lynaugh, 12 F.3d 1099,

*1 n.4 (5th Cir. 1993) (unpub.) (“[A] mere disagreement over litigation strategy . . . does not, in and of

itself, establish inadequacy of representation.” (citation omitted)). Simply put, Movants are not entitled




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to intervene as of right because they “have not demonstrated that [UT] will not strongly defend its

affirmative action program.” Hopwood, 21 F.3d at 606.2

        D.      Movants’ application is untimely.

        “To determine whether a motion to intervene is timely, courts must consider the totality of

the circumstances.” United States v. Covington Cty. Sch. Dist., 499 F.3d 464, 465 (5th Cir. 2007). “[T]here

are four factors to consider in determining whether a motion to intervene is timely: (1) the length of

time the applicants knew or should have known of their interest in the case; (2) prejudice to existing

parties caused by the applicants’ delay; (3) prejudice to the applicants if their motion is denied; and (4)

any unusual circumstances.” Id. at 466.

        Here, Movants did not seek to intervene until five months after the complaint was filed and

two months after UT filed its answer. Much shorter delays have been found untimely. See, e.g., NAACP

v. New York, 413 U.S. 345, 367, 369 (1973) (motion to intervene filed 17 days after “the date [movants]

allegedly were first informed of the pendency of the action” was deemed “untimely”). Contrary to

Movants, nothing in UT’s amended answer made it “apparent that UT could not adequately represent

their stake in the case.” Mem. 6. The Movants’ delay also “would prejudice” the existing parties.

Covington Cty. Sch. Dist., 499 F.3d at 466. The parties already negotiated over scheduling, and their

proposals likely would need to be revisited if Movants were allowed to intervene. For all of these

reasons, this Court should deny intervention of right.3


2
 Movants’ “unique evidence” showing that UT’s consideration of race in admissions is necessary to
remedy past discrimination is not a constitutional rationale for racial preferences in admission. See
Fisher v. Univ. of Tex. at Austin, 570 U.S. 297, 308 (2013).
3
 SFFA’s recent attempt to intervene in the United States’ case against Yale does not conflict with its
position here. SFFA has a protectable interest in that litigation because it seeks to protect its members’
constitutional rights to be free from racial discrimination. See United States v. Yale Univ., No. 3:20-cv-
1534 (D. Conn. 2020) (Docs. 5, 40). In addition, if SFFA’s motion to intervene is denied, SFFA intends
to file its own lawsuit against Yale. Permissive intervention thus prevents a multiplicity of suits and
resolves all related issues in one lawsuit.


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II.     Movants should be denied permissive intervention.

        Movants also should be denied permissive intervention. Permissive intervention is not

appropriate unless “the intervention request is timely, the intervenor’s ‘claim or defense and the main

action have a question of law or fact in common,’ and granting intervention will not unduly delay or

prejudice the original parties in the case.” United States v. City of New Orleans, 540 F. App’x 380, 381

(5th Cir. 2013) (quoting Fed. R. Civ. P. 24(b)). A district court “may deny permissive intervention even

when the requirements of Rule 24(b) are met.” Id. Movants cannot satisfy these requirements.

        Permissive intervention is not appropriate because allowing Movants to participate in this case

will “unduly delay [and] prejudice the adjudication of the original parties’ rights.” Fed. R. Civ. P.

24(b)(3). Although Movants claim that their involvement will not “prolong[] discovery or delay[]

resolution of this case,” Mem. 15, that is wishful thinking. Movants seek far-reaching fact and expert

discovery on a wide range of (mostly irrelevant) issues. The topics on which they seek to conduct

discovery and present evidence include, just to name a few: (1) “the present-day effects of Texas’s

long history of segregation and discrimination, including within UT itself”; (2) the “discriminatory

effects of UT’s historical and ongoing reliance on standardized test scores” and its “roots in post-

Brown attempts to preserve segregated schools in Texas”; (3) “evidence related to continuing racial

tensions on campus”; and (4) the “First Amendment concerns” of students who wish to write about

their race in their essays. Id. at 12-13.

        As the Harvard court recognized in denying permissive intervention, “the addition of [multiple]

parties propounding discovery, presenting expert testimony, cross-examining witnesses, and

participating in all other aspects of the adversary process would inevitably slow and unduly complicate

the progress of this litigation.” 308 F.R.D. at 52; see also G & H Dev., 2014 WL 12663199, at *4 (“The

addition of another defendant, and its attorneys, would make scheduling of discovery and court

deadlines more complicated, there would be more questions for every witness and more briefs on



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every issue in what is already a complicated case.”). Moreover, denying permissive intervention will

not harm Movants because they have no protectable interest at stake in this litigation and UT will

adequately protect any conceivable interest that they do have.4

        The fairest and most efficient path forward is to allow Movants to participate as amici curiae,

which will not “complicate proceedings, lengthen the discovery process, add expense, [or] significantly

delay the ultimate resolution of this case.” Harvard, 308 F.R.D. at 52. Movants are chiefly concerned

with matters of law, policy, and historical fact. They wish to support UT’s policy of considering race

as a factor in undergraduate admissions decisions and to share with the Court their views and

perspectives. That is precisely the kind of presentation that can and should be shared through

participation as amici curiae. See Veasey, 577 F. App’x at 263; Hopwood, 21 F.3d at 605-06; Bush v. Viterna,

740 F.2d 350, 359 (5th Cir. 1984); Harvard, 308 F.R.D. at 52-53.

        Movants rely on SFFA v. UNC, 319 F.R.D. 490 (M.D.N.C. 2017), see Mem. 15, but even that

court did not grant the type of intervention that Movants seek here. The intervenors in UNC sought

only “limited intervention to conduct discovery and present evidence” on two narrow issues related

to UNC. 319 F.R.D. at 495. The court granted the motion, but it made clear that the intervenors were

not “permitted access to any confidential information that may be produced in discovery between the

parties” and could conduct only limited discovery into (1) “the history of segregation and

discrimination at [UNC]” and (2) the effect of UNC’s existing, and SFFA’s proposed, admissions

processes on “the critical mass of diverse students at [UNC].” Id. at 497. Similarly, in SFFA’s case

against Harvard, the district court denied permissive intervention and prohibited the proposed

intervenors from “propound[ing] discovery, participat[ing] in depositions, obtain[ing] copies of

documents requested in discovery, or otherwise participat[ing] in discovery in this case.” Harvard, 308


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 As explained above, permissive intervention also is improper because the motion to intervene is
untimely.


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F.R.D. at 53. Instead, the proposed intervenors, “[a]s amici curiae,” could submit “declarations, file

substantive briefs on dispositive motions, and participate in oral arguments on those motions,” and,

“[s]hould [the] case proceed to trial, . . . file a motion to participate in the proceedings.” Id. at 52.

Simply put, neither court gave the intervenors the sweeping intervention they request here.

        The Court instead should follow Hopwood and Fisher. In Hopwood, the district court denied

permissive intervention because it would not be “the fairest and most efficient method of handling

the lawsuit” and would “needlessly increase cost and delay disposition of the litigation.” 1994 WL

242362, at *2. The more “appropriate role” for the movants was amici curiae. Id. at *2 n.3; see also

Hopwood, 21 F.3d at 606 (affirming denial of permissive intervention). Similarly, in Fisher, the court

denied permissive intervention because the proposed-intervenors interests were “adequately

represented by the existing parties” and denying intervention would “be in the best interest of an

efficient resolution of this case.” Order, Fisher v. Univ. of Tex. at Austin, No. 1:08-CV-263 (W.D. Tex.

Aug. 11, 2008) (Doc. 83). The court instead authorized the proposed intervenors to participate as amici

curiae. See id. This Court should follow the same path here.

                                           CONCLUSION

        For all these reasons, the Court should deny the motion to intervene.




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                                          Respectfully submitted,

                                         /s/ J. Michael Connolly

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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been served on counsel of

record for Defendants and Movants via the Court’s electronic filing and service on December 23,

2020.


                                                             /s/ J. Michael Connolly




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